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             IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                        TYLER DIVISION


LOUIE GOHMERT, TYLER BOWYER,
NANCY COTTLE, JAKE HOFFMAN,                         Civil Action No.
ANTHONY KERN, JAMES R. LAMON,                     6:20-cv-00660-JDK
SAM MOORHEAD, ROBERT
MONTGOMERY, LORAINE
PELLEGRINO, GREG SAFSTEN, KELLI
WARD and MICHAEL WARD,                       INTERVENORS’ MICHELE
                                               LUNDGREN ET.AL.’S
                Plaintiffs,                     NOTICE OF APPEAL

                                                    (Election Matter)
     v.


THE HONORABLE MICHAEL R. PENCE,
VICE PRESIDENT OF THE UNITED
STATES, IN HIS OFFICIAL CAPACITY.

               Defendant,

MICHELE LUNDGREN, MARIAN
SHERIDAN, MESHAWN MADDOCK,
MARI-ANN HENRY, AND
AMY FACCHINELLO, IN THEIR
OFFICIAL CAPACITY AS
PRESIDENTIAL ELECTORS,
REPRESENTING THEIR RESPECTIVE
STATES.

                    Intervenors.


                 INTERVENORS’ NOTICE OF APPEAL
TO THE HONORABLE COURT:
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      Pursuant to FED. R. APP. P. 3 and 4, notice is hereby given that Michele

Lundgren, Marian Sheridan, Meshawn Maddock Mari-Ann Henry and Amy

Facchinello in their official capacities as Presidential Electors for the State of

Michigan (hereinafter referred to as the “Michigan Electors”) -- Interveners in the

above-captioned action—hereby appeal to the United States Court of Appeals for

the Fifth Circuit the Order of Dismissal and the accompanying Final Judgment

entered by the United States District Court for the Eastern District of Texas in the

above-captioned action on January 1, 2021 (ECF #37 and #38, respectively).

      January 2, 2021.

                                Respectfully submitted,

                                By: /s/ Charles Bundren

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                 CERTIFICATE OF ELECTRONIC FILING

       The undersigned hereby certifies that this document has been filed by
electronic means through the court's CM/ECF electronic filing system on the date
indicated below.


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            CERTIFICATE OF SERVICE UNDER LOCAL RULE

       Pursuant to LOCAL RULE CV-5 (c)&(d) of the Local Civil Rules of the
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                         CERTIFICATE OF SERVICE

       This is to certify that on this 2nd day of January 2021 a true and correct copy
of the foregoing document was served in accordance with the Federal Rules of Civil
Procedure and the United States District Court for the Eastern District of Texas Local
Rules on all legal counsel of record for any party and all pro se parties by serving
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5(b(2)(A) and
(B).


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